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                               UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION


MERCHANDISING TECHNOLOGIES,                                                Case No. 3: ll-cv-01354-SI
INC., an Oregon corporation,

                         Plaintiff,
                                                                            SETTLEMENT ORDER
        v.                                                                      AND DISMISSAL

VANGUARD PRODUCTS GROUP, INC.,
an illinois corporation doing business as
Vanguard Protex Global,

                         Defendant.



SIMON, District Judge,

        Based on the record in this case, the parties' resolution of their differences in accordance

with a fully executed settlement agreement, and the parties' consent and stipulation to the entry

of the following judgment:

        IT IS HEREBY ORDERED, ADJUDGED, and DECREED that:

        1.      This court has jurisdiction over the parties to this action and over the subject

matter of this action.

        2.      This Settlement Order and Dismissal is subject to all terms of the Confidential

Settlement Agreement dated as of September 10, 2012, entered into by and between
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Merchandising Technologies, Inc., and Vanguard Products Group, Inc. (the "Settlement

Agreement").

       3.      All claims asserted in this case by plaintiff against defendant are hereby dismissed

with prejudice, and all counterclaims asserted in this case by defendant against plaintiff are

hereby dismissed with prejudice.

       4.      This court shall retain continuing subject matter and personal jurisdiction for the

purposes of construing or enforcing the terms of this Settlement Order and Dismissal and the

Settlement Agreement between the parties, or for resolving any other dispute arising hereunder.

       5.      Each party shall bear its own costs and disbursements.

       6.      There shall be no appeal from this Settlement Order and Dismissal.
                           -r-v
       DATED this     /D          day of September, 2012.




                                                     ~~ Michael H. Simon
                                                        United States District Judge
